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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Norfolk Division


 EVRICKP. SPEIGHT


                       Petitioner,

        V.                                              CRIMINAL ACTION NO. 2;17-cr-28
                                                        CIVIL ACTION NO. 2:18-cv-363

 UNITED STATES OF AMERICA,

                       Respondent.


                           MEMORANDUM OPINIONAND ORDER

        Before the Court is Evrick Speight's ("Petitioner") pro se Motion to Vacate, Set Aside, or

 Correct a Sentence by a Person in Federal custody pursuant to Title 28, United States Code,

 Section 2255 ("§ 2255 Motion"). Having reviewedthe motions and filings, the Court finds that a

 hearing is not necessary to address Petitioner's motion. For the reasons set forth below.

 Petitioner's § 2255 Motion is DENIED.


                        I. FACTUAL AND PROCEDURAL HISTORY

        For background, this case involved various firearm charges in connection to narcotics

 distributionand trafficking. See ECF No. 3; ECF No. 18 H1. On November 29,2016, Evrick

 Speightpossessed with intent to distribute approximately 27.85 grams of a rock-like substance

 later identified by the Virginia Department of Forensic Science as containing a detectible amount

 of cocaine. ECF No. 18 ^ 11-2. Speight sold this mixture to confidential sources working in

 conjunction with federal and local law enforcement, while possessing with intent to sell a New

 Frontier Armory LLC 5.56 caliber rifle. Model LW-15. Id. at ^ 3; ECF No. 36 at 3 (Speight

 claims that he ^^only brought to the meets what was being sold^).


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